This is an appeal from the judgment of forfeiture rendered in the trial court against one Ford automobile seized on January 28, 1917, charged with being used as a conveyance for the transportation of whisky from one point in the state to another, on the day of seizure.
The case is controlled by the decision of this court in case No. 9008, One Cadillac Automobile v. State, reported in68 Okla. 116, 172 P. 62, and the subsequent cases following that decision to the effect that the judgment of confiscation was not authorized by the law as it existed at that time of the seizure. The judgment appealed from must therefore be reversed.
It is ordered that the judgment appealed from be reversed, and the cause remanded, with directions to the trial court to vacate the judgment of forfeiture and return the Ford to its owner.
By the Court: It is so ordered.